Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 1 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 2 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 3 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 4 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 5 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 6 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 7 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 8 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 9 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 10 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 11 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 12 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 13 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 14 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 15 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 16 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 17 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 18 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 19 of 23
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 20 of 23




                                                                        te
                                                                  en
                                                                 m
                                                              la
                                                          so
                                                      o s
                                                   iv
                                             at
                                           rm
                                        fo
                                     in
                                  s
                              ito
                          os
                      op
                  pr
            ra
          pa
   ia
 op
C
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 21 of 23




                                                                        te
                                                                  en
                                                                 m
                                                              la
                                                          so
                                                      o s
                                                   iv
                                             at
                                           rm
                                        fo
                                     in
                                  s
                              ito
                          os
                      op
                  pr
             r a
          pa
     i a
  op
C
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 22 of 23




                                                                        te
                                                                  en
                                                                 m
                                                              la
                                                          so
                                                      o s
                                                   iv
                                             at
                                           rm
                                        fo
                                     in
                                  s
                              ito
                          os
                      op
                  pr
             r a
          pa
     i a
  op
C
Case 1:20-cv-21716-FAM Document 1-2 Entered on FLSD Docket 04/24/2020 Page 23 of 23




                                                                        te
                                                                  en
                                                                 m
                                                              la
                                                          so
                                                      o s
                                                   iv
                                                at
                                           rm
                                        fo
                                     in
                                  s
                              ito
                          os
                      op
                  pr
             r a
          pa
      ia
 op
C
